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 1
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     KRISTY M. KELLOGG, #271250
 2   Johnson, Greene & Roberts LLP
     400 Capitol Mall, Suite 1620
 3
     Sacramento, California 95814
 4   Telephone: (916) 442-4022
 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8
                                                )
 9   UNITED STATES OF AMERICA,                  ) Case No.: 2:16-mj-00187
                                                )
10
                  Plaintiff,                    ) DEFENDANT’S [PROPOSED] ORDER
11                                              ) FOR SUBSTITUTION OF COUNSEL
           vs.                                  )
12                                              )
13   Sharmistha Barai,                          )
                 Defendant.                     )
14                                              )
15
16         Pursuant to Local Rule 182(g), and Federal Rules of Civil Procedure, Rule 83,
17   Defendant, Alla Samchuk, requests this Court to relieve TODD LERAS and substititue
18   and appoint as the attorney of record THOMAS A. JOHNSON, Johnson, Greene &
19   Roberts LLC, 400 Capitol Mall, Suite 1620, California, 95814, (916) 442 – 4022.
20
21         Ms. Barai consents to this substitution.
22
23                                                    /s/ Sharmistha Barai
     DATED: October 27, 2016                          SHARMISTHA BARAI
24                                                    Defendant
25
26
27
28


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                Case 2:16-cr-00217-MCE Document 17 Filed 10/27/16 Page 2 of 2



 1            Thomas A. Johnson consents to this substitution.
 2
 3
     DATED: October 27, 2016                                   /s/ Thomas A. Johnson
                                                               THOMAS A. JOHNSON
 4                                                             Attorney for Sharmistha Barai
 5
              Todd Leras consents to this substitution and requests to be relieved as the attorney
 6
     of record.
 7
 8   DATED: October 27, 2016                            /s/ Todd Leras
                                                        TODD LERAS
 9
                                                        Former attorney of Sharmistha Barai
10
11   IT IS SO ORDERED.
12
13   Dated:
14
                                                 ___________________________________
15
                                                 U.S. Magistrate Court Judge
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